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                                                                        Exhibit 30
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                                 #:1816




                                          i entl I Treatment Center in Manvel, Texas.
                                      ch d i a true and correct copy of - b i r t h certificate, which I ofrer
                               bJi h m p rentag of her.

                                 J hereb designate                              my father and -                        grandfather.
                           s th indi id.uni in whose custody T wish to place my daughter, -                          - My father is a
                          re pon ible dult who J know to be capable and willing to care for -                            whom has
                       kno, n. ince her early childhood. My father will provide -                        with financial and
                       cmorionul uppo1t in a setting th.at Will be far better for - t h a n Shiloh ResidentiaJ
                      Treatment Center. Pursuant to ,i 14D of the set1lement in Flores v. Sessions, No. 85-4544
                      ( .D . Col.), l hereby instruct ORR to release Kimberly to her grandfather's custody
                      without further delay.

                     5.       This declara1ion is s igned before an imm igra1ion or consular officer.
             19

           _Q       1 declare under penaHy of perjuiy under the laws of the United States of America that the
          ]I        foregoing is tru and correct. Executed on this 4(h day of April 2018, atEI alvador.

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                   Subscribed and worn b fo,e me on thi s 4111 d::ty of Apri l 20 18 .

   27
                                                                                  Christine Bagley
                                                                                   Vice Consul
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                                      COMMISSION                       lMMlGRA TJON / CONSULAR OFFICER
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                                   ALCALDIA DE SAN SALVADOR
                                             El SALVADOR, C.A




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                                 #:1819
    [Stamp:] Municipal Townhall
    Registry of Family Status
                                             [Coat of arms]            BIRTHS
                                    Municipal Townhall of San Salvador
                                      REGISTRY OF FAMILY STATUS


                                                                                BOOK: 007
                                                                       FOLIO:

    CERTIFICATE NUMBER THREE HUNDRED EIGHTY-SEVEN

    Female
    Born in San Salvador
    In Maternity Hospital
    At five p.m. forty-three minutes
    On
    Daughter of
    Socially known as:
    Twenty-one years old. Occupation: housewife
    Domicile in CIUDAD DELGADO
    Nationality: SALVADORAN
    Who exhibited an Identity Document (DUI)
    Number
    Document issued in NUEVA SAN SALVADOR
    And daughter of:
    Socially known as:
    THIS INFORMATION WAS SUBMITTED BY:
    Mother of the person being registered
    MUNICIPAL TOWNHALL. San Salvador. January twenty-nine two thousand four
    Correction-four-is valid.

    [Signature]                                [Signature]
    Informant [handwritten:]            ANGELA [Illegible] DELEÓN DE RÍOS
                                       Chief of the Registry of Family Status




                                                                                       Exhibit 30
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                                 #:1820
                                       [Coat of arms]
                                 Government of San Salvador
                                 REGISTRY OF FAMILY STATUS

                     The undersigned Chief of the Registry of Family Status
              of this city CERTIFIES that this copy is true to its original document
              as per the ID No. 1872 of June 24, 1955, and published in O.D. 119
                              book 167 of June 28 of the same year

                                 San Salvador January 11, 2017


                                          [Signature]
                              Juan José Armando Azucena Catán
                          CHIEF OF THE REGISTRY OF FAMILY STATUS

                                TOWNSHIP OF SAN SALVADOR
                                    EL SALVADOR, C.A.


                                                           [Stamp:] Government of San Salvador
                                                                                [Coat of arms]
                                                                                     [Illegible]




                                                                                              Exhibit 30
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                                 #:1821




                             TRANSLATION CERTIFICATION


 Date: August 17, 2018


 To whom it may concern:

 This is to certify that the attached translation from Spanish into English is an accurate
 representation of the document received by this office.

 The document is designated as:
    x Birth certificate number        of                     Municipal Townhall of San Salvador,
        Registry of Family Status


 Sarah Hall, Project Manager in this company, attests to the following:

 “To the best of my knowledge, the aforementioned document is a true, full and accurate
 translation of the specified document.”




 Signature of Sarah Hall




  CERT-07, 12/05/2017, Ver. 1                              Global Solutions. Local Expertise.
                                                                                             Exhibit 30
                      www.morningtrans.com            info@morningtrans.com
                                                                                              Page 258
